     Case 3:05-cr-00228-ADC-JA        Document 353   Filed 05/26/06   Page 1 of 6



 1                           IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF PUERTO RICO
 2
 3
 4
          UNITED STATES OF AMERICA,
 5
          Plaintiff
 6
          v.                                             CRIMINAL 05-0228 (ADC)
 7
 8        [19] MILTON FELIÚ-RODRÍGUEZ,

 9        Defendant
10
11                    MAGISTRATE JUDGE'S REPORT AND RECOMMENDATION
                      RE: RULE 11(c)(1)(B) PROCEEDINGS (PLEA OF GUILTY)
12
13   I.        Personal Background
14             On June 30, 2005, Milton Feliú-Rodríguez, the defendant herein, was charged
15   in a two count-indictment. The defendant agrees to plea guilty to count one of the
16   indictment.
17             Count one charges the defendant with knowingly, unlawfully and
18   intentionally, combining, conspiring, confederating and agreeing to possess with the
19   intent to distribute more than five kilograms of cocaine, 50 grams or more of cocaine
20   base (“crack”), both Schedule II Narcotic Drug Controlled Substances, and 1,000
21   kilograms or more of marihuana, a Schedule I Narcotic Drug Controlled Substance,
22   in violation of 21 U.S.C. § 846.
23             Defendant filed a motion for change of plea on May 12, 2006.
24   II.       Consent to Proceed Before a Magistrate Judge
25             On May 25, while assisted by Michael R. Hasse, Esq., the defendant, by
26   consent, appeared before me in order to change his previous not guilty plea to a plea
27   of guilty as to count one of the indictment.
28
     Case 3:05-cr-00228-ADC-JA      Document 353     Filed 05/26/06   Page 2 of 6



 1   CRIMINAL 05-0228 (ADC)                     2
 2
 3
            In open court the defendant was questioned as to the purpose of the hearing
 4
     being held. The defendant responded that the purpose of the hearing was to plead
 5
     guilty. The defendant was advised of his right to have all proceedings, including the
 6
     change of plea hearing, before a United States district judge. Defendant was given
 7
     notice of: (a) the nature and purpose of the hearing; (b) the fact that all inquiries
 8
     were to be conducted under oath and that it was expected that his answers would
 9
     be truthful (he was also explained that the consequences of lying under oath could
10
     lead to a perjury charge); and (c) his right to have the change of plea proceedings
11
     presided over by a district judge instead of a magistrate judge. The defendant was
12
     also explained the differences between the appointment and functions of the two.
13
     The defendant consent to proceed before this magistrate judge.
14
     III.   Proceedings Under Rule 11, Federal Rules of Criminal Procedure
15
            A. Compliance With Requirements Rule 11(c)(1)
16
                   Rule 11 of the Federal Rules of Criminal Procedure governs the
17          acceptance of guilty pleas to federal criminal violations. Pursuant to
            Rule 11, in order for a plea of guilty to constitute a valid waiver of the
18          defendant’s right to trial, guilty pleas must be knowing and voluntary:
            “Rule 11 was intended to ensure that a defendant who pleads guilty
19          does so with an ‘understanding of the nature of the charge and
            consequences of his plea.’” United States v. Cotal-Crespo, 47 F.3d 1, 4
20          (1st Cir. 1995) (quoting McCarthy v. United States, 394 U.S. 459, 467
            (1969)). [There are three core concerns in these proceedings]: 1)
21          absence of coercion; 2) understanding of the charges; and 3) knowledge
            of the consequences of the guilty plea. United States v. Cotal-Crespo, 47
22          F.3d at 4 (citing United States v. Allard, 926 F.2d 1237, 1244-45 (1st
            Cir. 1991)).
23
     United States v. Hernández-Wilson, 186 F.3d 1, 5 (1st Cir. 1999).
24
            In response to further questioning, defendant was explained and he
25
     understood that if convicted on count one, he was exposed to a term of
26
     imprisonment of not less than five years and not more than 40 years, a fine of not
27
     more than $2,000,000, and a term of supervised release of at least four years. The
28
     Case 3:05-cr-00228-ADC-JA      Document 353    Filed 05/26/06   Page 3 of 6



 1   CRIMINAL 05-0228 (ADC)                    3
 2
 3
     court must impose a mandatory penalty assessment of $100, per offense, to be
 4
     deposited in the Crime Victim Fund, pursuant 18 U.S.C. 3013(a).
 5
           Defendant was advised that the ultimate sentence was a matter solely for the
 6
     court to decide in its discretion and that, even if the maximum imprisonment term
 7
     and fine were to be imposed upon him, he later could not withdraw his guilty plea
 8
     if he was unhappy with the sentence of the court. The defendant understood this.
 9
           Defendant was explained what the supervised release term means. It was
10
     emphasized that cooperation with the United States Probation officer would assist
11
     the court in reaching a fair sentence.
12
           Emphasis was made on the fact that at this stage, no prediction or promises
13
     as to the sentence to be imposed could be made by anyone. Defendant responded to
14
     questions in that no promises, threats, inducements or predictions as to what
15
     sentence will be imposed have been made to him.
16
           B. Admonishment of Constitutional Rights
17
           To assure defendant’s understanding and awareness of his rights, defendant
18
     was advised of his right:
19
           1.   To remain silent at trial and be presumed innocent, since it is the
20
     government who has the burden of proving his guilt beyond a reasonable doubt.
21
           2.   To testify or not to testify at trial, and that no comment could be made by
22
     the prosecution in relation to his decision not to testify.
23
           3.   To a speedy trial before a district judge and a jury, at which he would be
24
     entitled to see and cross examine the government witnesses, present evidence on his
25
     behalf, and challenge the government’s evidence.
26
27
28
     Case 3:05-cr-00228-ADC-JA     Document 353     Filed 05/26/06   Page 4 of 6



 1   CRIMINAL 05-0228 (ADC)                   4
 2
 3
           4.   To have a unanimous verdict rendered by a jury of twelve persons which
 4
     would have to be convinced of defendant’s guilt beyond a reasonable doubt by means
 5
     of competent evidence.
 6
           5.   To use the subpoena power of the court to compel the attendance of
 7
     witnesses.
 8
           Upon listening to the defendant’s responses, observing his demeanor and his
 9
     speaking with his attorney, that to the best of counsel’s belief defendant had fully
10
     understood his rights, it is determined that defendant is aware of his constitutional
11
     rights.
12
           C. Consequences of Pleading Guilty
13
           Upon advising defendant of his constitutional rights, he was further advised
14
     of the consequences of pleading guilty. Specifically, defendant was advised that by
15
     pleading guilty and upon having his guilty plea accepted by the court, he will be
16
     giving up the above rights and would be convicted solely on his statement that he is
17
     guilty.
18
           Furthermore, the defendant was admonished of the fact that by pleading guilty
19
     he would not be allowed later on to withdraw his plea because he eventually might
20
     disagree with the sentence imposed, and that when he were under supervised
21
     release, and upon violating the conditions of such release, that privilege could be
22
     revoked and he could be required to serve an additional term of imprisonment. He
23
     was also explained that parole has been abolished.
24
           D. Plea Agreement
25
           The parties have entered into a written plea agreement that, upon being signed
26
     by the government, defense attorney and defendant, was filed and made part of the
27
     record. Defendant was clearly warned and recognized having understood that:
28
     Case 3:05-cr-00228-ADC-JA     Document 353       Filed 05/26/06   Page 5 of 6



 1   CRIMINAL 05-0228 (ADC)                   5
 2
 3
           1.   The plea agreement is not binding upon the sentencing court.
 4
           2.   The plea agreement is an “agreement” between the defendant, defense
 5
     attorney and the attorney for the government which is presented as a
 6
     recommendation to the court in regards to the applicable sentencing adjustments
 7
     and guidelines, which are advisory.
 8
           3.   The agreement provides a sentencing recommendation and/or anticipated
 9
     sentencing guideline computation, that can be either accepted or rejected by the
10
     sentencing court.
11
           4.   In spite of the plea agreement and any sentencing recommendation
12
     contained therein, the sentencing court retains full discretion to reject such plea
13
     agreement and impose any sentence up to the possible maximum penalty prescribed
14
     by statute.
15
           Defendant acknowledged having understood this explanation.
16
           E. Government's Evidence (Basis in Fact)
17
           The government presented a proffer of its evidence with which the defendant
18
     concurred.
19
           Accordingly, it is determined that there is a basis in fact and evidence to
20
     establish all elements of the offense charged.
21
           Should defendant meet all the requirements of the “safety valve” provisions
22
     of U.S.S.G. § 5C1.2, then the defendant would be entitled to a further two level
23
     reduction in the base offense level.
24
           F. Voluntariness
25
           The defendant accepted that no leniency had been promised, no threats had
26
     been made to induce him to plead guilty and that he did not feel pressured to plead
27
     guilty. He came to the hearing for the purpose of pleading guilty and listened
28
     Case 3:05-cr-00228-ADC-JA      Document 353     Filed 05/26/06   Page 6 of 6



 1   CRIMINAL 05-0228 (ADC)                     6
 2
 3
     attentively as the prosecutor outlined the facts which it would prove if the case had
 4
     proceeded to trial.
 5
     IV.   Conclusion
 6
           The defendant, by consent, has appeared before me pursuant to Rule 11,
 7
     Federal Rules of Criminal Procedure, and has entered a plea of guilty as to count
 8
     one of the indictment.
 9
           After cautioning and examining the defendant under oath and in open court,
10
     concerning each of the subject matters mentioned in Rule 11, as described in the
11
     preceding sections, I find that the defendant Milton Feliú-Rodríguez is competent
12
     to enter this guilty plea, is aware of the nature of the offense charged and the
13
     maximum statutory penalties that the same carries, understands that the charge is
14
     supported by the government’s evidence, has admitted to every element of the
15
     offense charged, and has done so in an intelligent and voluntary manner with full
16
     knowledge of the consequences of his guilty plea.
17
           Therefore, I recommend that the court accept the guilty plea of the defendant
18
     and that the defendant be adjudged guilty as to count one of the indictment.
19
           This report and recommendation is filed pursuant to 28 U.S.C. § 636(b)(1)(B)
20
     and Rule 72(d) of the Local Rules of Court. Any objections to the same must be
21
     specific and must be filed with the Clerk of Court within five (5) days of its receipt.
22
     Rule 510.1, Local Rules of Court; Fed. R. Civ. P. 72(b). Failure to timely file specific
23
     objections to the report and recommendation is a waiver of the right to review by the
24
     district court. United States v. Valencia-Copete, 792 F.2d 4 (1st Cir. 1986).
25
           At San Juan, Puerto Rico, this 26th day of May, 2006.
26
27
                                                  S/ JUSTO ARENAS
28                                       Chief United States Magistrate Judge
